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Attorneys for Plaintiff Bryon Jackson

                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION



BRYON JACKSON,                            )         Case No. 3:21-cv-08458-LB
                                          )
   Plaintiff,                             )         JOINT REVISED JUROR
                                          )         QUESTIONNAIRE AND
v.                                        )         NEUTRAL STATEMENT
                                          )
TARGET CORPORATION,                       )         Judge:   Hon. Laurel Beeler
                                          )
   Defendant.                             )
_________________________________________ )
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                                  Juror Questionnaire
                               Case No. 3:21-cv-08458-LB

1. Your name:
2. Your age:
3. City in which you reside:
4. Your place of birth:
5. Do you rent or own your own home?
6. Are you married or do you have a domestic partner? ____Yes ____ No
7. Please list the occupation of your spouse or domestic partner.
8. If you are not married and do not have a domestic partner, are you (circle one, if
   applicable): single separated        divorced       widowed
9. If you have children, please list their ages and sex and, if they are employed, please give
   their occupations.
10. What is your occupation and how long have you worked in it? (If you are retired, please
    describe your main occupation when you were working).
11. Who is (or was) your employer?
12. How long have you worked for this employer?
13. Please describe your education background:
   Highest grade completed:
   College and/or vocational schools you have attended:
   Major areas of study:
14. Have you ever had jury experience? ______ Number of times? ______
   If yes: State/County Court ______ Federal Court ______
   When? Was it a civil or criminal case?
   Did any of the juries reach a verdict? ______Yes ______No
15. Do you know any of the following individuals? Bryon U. Jackson, the Plaintiff in this
    case?
       ● Bryon U. Jackson, the Plaintiff in this case;
       ● Target Employee Kimara Smith;
       ● Plaintiff’s lawyers, Erika Warren, Jennifer Kash, or Francesca Germinario;
       ● Defendant’s lawyers, David Roth or Gabriella Pedone.
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                                  Juror Questionnaire
                               Case No. 3:21-cv-08458-LB

16. Have you or anyone close to you ever worked for Target? If so, who, when, where, and
    in what capacity?
17. Have you been to the Alameda Target retail store?
18. Have you or has anyone in your family ever filed or been party to a lawsuit? If so, please
    describe, including whether the lawsuit ended with dismissal, settlement or trial.
19. Do you or anyone close to you have education, training, or work experience in medicine,
    nursing, or paramedics?
20. Have you ever been hurt in an accident? If so, please describe.
21. Do you receive Medi-Cal or Medicaid benefits?
22. Do you or anyone you know suffer from a hidden disability? If so, please describe.
23. Has anyone here had chronic pain? If so, please describe, and indicate whether or not
    you received treatment for such pain.
24. Have you or anyone close to you been injured in a way that affected your work? If so,
    please explain.
